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                 EXHIBIT A
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               UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            NO. 1:23-CR-     0~
                 V.                                 (JUDGE W,\YJ1 )

EARL MARSHAWN WASHINGTON,                           (UNDER SEAL)
ZSANE'IT NAGY,

                 Defendants.

                           INDICTMENT
                                                             - FILED
THE GRAND JURY CHARGES:                                    HARRISBURG, PA

                                                               JAN O4 2023
                                COUNT 1                       ----....1.Q.......__ _
                                                       PER_ ffi~·
                           18 U.S.C. § 1349                    DEPUTY CLER K
                  (Conspiracy to Commit Bank Fraud)

     At times material to this Indictment:

Background

1.   EARL MARSHAWN WASHINGTON was a resident of, among

     other places, Key West, Florida; Miami, Florida; Honolulu,

     Hawaii; Las Vegas, Nevada; and New Orleans, Louisiana.

2.   COCONSPIRATOR 1 was a resident of, among other places, Key

     West, Florida and Honolulu, Hawaii. COCONSPIRATOR 1 was

     the assistant and romantic partner of EARL MARSHAWN

     WASHINGTON until or about 2015 or early 2016.
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3.   ZSANETT NAGY was a resident of, among other places, Key

     West, Florida; Miami, Florida; Honolulu, Hawaii; Las Vegas,

     Nevada; and New Orleans, Louisiana. ZSANETT NAGY was the

     assistant and romantic partner of EARL MARSHAWN

     WASHINGTON from on or about 2016 until on or about the

     present date.

4.   Xylography is the art of making woodcuts, or engravings made

     from wooden blocks, especially for printing using historical

     techniques.

5.   In traditional xylography, an artist uses a sharpened tool to carve

     a design into the surface of a woodblock. The raised areas that

     remain after the block has been cut are inked and printed, while

     the recessed areas that are cut away do not retain ink and will

     remain blank in the final print. Woodblock images can be printed

     onto paper, fabrics, textiles, or other materials. The technique has

     been used in different geographic regions at different times. One

     woodblock tradition stems from Germany starting around the

     14th century and continuing for several hundred years thereafter.
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6.    D.A., a physician and collector of antique medical and surgical

      instruments and other historical memorabilia, was a resident of

      York, Pennsylvania, in the Middle District of Pennsylvania. D.A.

      collected woodblocks depicting medical imagery, such as

      anatomical models and medical procedures, for display in his

      private museum.

7.    C.L., a metallurgist and collector of objects related to the steel

      industry, was a resident of Hummelstown, Pennsylvania, in the

      Middle District of Pennsylvania.

8.    G.P. was a collector and seller of engraved wood items and a

      resident of France.

9.    S.P. was a coworker and friend of G.P. and also a resident of

      France. S.P. and G.P. collaborated in the buying and selling of

      engraved wood items, including woodblocks.

ConspiracvlnvolvingEarl Marshawn Washington and Coconspirator 1

10.   Beginning on or about February 2013 and continuing until on or

      about March 2016, in the Middle District of Pennsylvania, and

      elsewhere, the defendant,

                     EARL MAR.SHAWN WASHINGTON,
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      did knowingly combine, conspire, confederate and agree, with

      other persons known and unknown to the Grand Jury, to commit

      offenses against the United States, that is, to knowingly execute a

      scheme and artifice to defraud People's Bank, a financial

      institution whose deposits were insured by the Federal Deposit

      Insurance Corporation, and to obtain money, funds, credits,

      assets, securities, and other property owned by, or under the

      custody and control of, People's Bank, by means of false and

      fraudulent pretenses, representations, and promises, in violation

      of 18 U.S.C. § 1344.

Manner and Means of the Conspiracy

It was part of the conspiracy that:

11.   EARL MARSHAWN WASHINGTON sold woodblocks and prints

      made from woodblocks on eBay under the alias "River Seine."

12.   On or about February 2013, D.A. found a seller on eBay who had

      listed for sale a woodblock carved with an anatomical model of a

      human thorax and abdomen, which D.A. purchased.
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13.   On or about March 2013, D.A. purchased approximately two more

      woodblocks from the same seller. Around the same time, D.A.

      messaged the seller, who responded using the name "River Seine."

14.   From on or about April 2013 until on or about March 2016, EARL

      MARSHAWN WASHINGTON, using the alias River Seine and the

      email address 007hoopty@gmail.com, exchanged several hundred

      emails with D.A.

15.   EARL MARSHAWN WASHINGTON told D.A. that his family had

      a collection of woodblocks dating back to an acquisition by his

      great-grandfather. EARL MARSHAWN WASHINGTON described

      these woodblocks as an "inheritance" and "estate."

16.   On or about April 14, 2013, EARL MARSHAWN WASHINGTON

      offered to sell to D.A. "original printing blocks from the 16th and

      17th centuries" for "a flat selling price of $1500 per block." EARL

      MARSHAWN WASHINGTON told D.A. that he had at least 60

      woodblocks from the 16th and 17th centuries, including some that

      may have even predated 1499, related to the medical profession,

      plus at least another 30 that were "peripherally" related to the

      medical profession.
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17.   On or about April 14, 2013, D.A. offered to pay EARL

      MARSHAWNWASHINGTON $1,250 per piece for every

      woodblock in the family collection with "any medical or surgical

      association." EARL MARSHAWN WASHINGTON agreed.

18.   D.A. purchased from EARL MARSHAWN WASHINGTON sets of

      multiple woodblocks on or about May 2013, August 2013, and

      December 2013.

19.   In 2013 and 2014, COCONSPIRATOR 1 packaged and shipped

      woodblocks and associated goods that EARL MARSHAWN

      WASHINGTON sold to D.A.

20.   COCONSPIRATOR 1 opened an account with an account number

      ending in 3098 at Centennial Bank in Key West, Florida on or

      about June 26, 2013. When opening the account,

      COCONSPIRATOR 1 used a Hawaii state identification card and

      a P.O. Box located in Key West, Florida as her address.

21.   EARLMARSHAWN WASHINGTON directed D.A. to send

      multiple payments for woodblocks to COCONSPIRATOR 1. By

      having D.A. pay COCONSPIRATOR 1, EARL MARSHAWN

      WASHINGTON was able to preserve his anonymity.
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22.   On or about August 9, 2013, EARL MARSHAWN WASHINGTON

      wrote to D.A. about woodblocks planned for the next shipment.

      Regarding payment, EARL MARSHAWN WASHINGTON

      specifically requested a cashier's check in order to avoid PayPal

      fees, and EARL MARSHAWN WASHINGTON also specified that

      D.A. "send a cashiers check in my assistant's name." D.A. agreed

      to pay with a cashier's check made out to COCONSPIRATOR 1.

23.   EARL MARSHAWN WASHINGTON reiterated his request for a

      cashier's check on multiple occasions. For instance, on or about

      January 21, 2014, EARL MARSHAWN WASHINGTON told D.A.

      that he wanted a cashier's check because a personal check might

      take too long to clear once deposited.

24.   On or about January 21, 2014, EARL MARSHAWN

      WASHINGTON again asked D.A. to mail a cashier's check to his

      and COCONSPIRATOR l's shared address of 1023 Whitehead

      Street, Unit C, Key West, Florida 33040. EARL MARSHAWN

      WASHINGTON again requested that the cashier's check be made

      payable to COCONSPIRATOR 1 but that the mail be addressed to

      "River Seine."
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25.   On or about January 28, 2014, D.A. acquired from People's Bank

      located at or around 109 Leader Heights Road, York, PA 17403 a

      cashier's check payable t o COCONSPIRATOR 1 for approximately

      $7,500. D.A. then mailed the check to "River Seine" in Key West ,

      Florida.

26.   This cashier's check was guaranteed by People's Bank and drawn

      from its own funds.

27.   On or about February and March of 2014, EARL MARSHAWN

      WASHINGTON and COCONSPIRATOR 1 sent D.A. several dozen

      woodblocks, including some woodblocks that were made in or

      around the second half of the 20th century. In other words, they

      were not from the 16th and 17th centuries, or earlier, as EARL

      MARSHAWNWASHINGTON had advertised to D.A.

28.   EARL MARSHAWN WASHINGTON repeatedly led D.A. to

      believe that D.A. was purchasing woodblocks that were "rare" and

      several centuries old. For instance, on or about March 12, 2014,

      D.A. told EARL MARSHAWN WASHINGTON to take as long as .

      needed to send the woodblocks slated for the upcoming shipment

      because they had already "waited 500 years" to be added to D.A.'s
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       private museum. On or about April 13, 2014, EARL MARSHAWN

       WASHINGTON claimed to have found in his personal storage

       space additional medicine-related woodblocks, all of which he said

       were from the early to mid-16th century.

29.    D.A. went on to purchase from EARL MARSHAWN

       WASHINGTON a total of approximately 130 woodblocks for

       approximately $118,810. As with earlier sales, some of the

       woodblocks that EARL MARSHAWN WASHINGTON sold to D.A.

       in late 2014 and early 2015 were, again, from the second half of

       the 20th century, contrary to what EARL MARSHAWN

       WASHINGTON had advertised to D.A.

 30.   On top of the cashier's check, D.A. paid EARLMARSHAWN

       WASHINGTON by various other means, including PayPal

       transfers and a $22,500 bank wire transfer. D.A. made this wire

       transfer to COCONSPIRATOR l's Centennial Bank account on or

       about March 10, 2014, again at the direction of EARL

       MARSHAWN WASHINGTON.
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31.    On or about March 11, 2014, EARL MARSHAWN WASHINGTON

       confirmed by email that the full amount of the wire transfer had

       arrived in COCONSPIRATOR l's bank account.

       All in violation of Title 18, United States Code, Section 1349.



THE GRAND JURY FURTHER CHARGES:

                                 COUN'T2
                              18 U.S.C. § 1344
                               (Bank Fraud)

32.    Paragraphs 1 through 9 and 11 through 31 are incorporated here.

 33.   On or about the date set forth below, in the Middle District of

       Pennsylvania and elsewhere, the defendant,

                     EARL MARSHAWN WASIDNGTON,

       knowingly executed, attempted to execute, and willfully

       participated in a scheme and artifice to defraud People's Bank and

       to obtain the moneys, funds, credits, assets, and other property

       owned by and under the custody and control of People's Bank, a

       financial institution whose deposits were insured by the Federal

       Deposit Insurance Corporation, by means of false and fraudulent

       pretenses, representations, and promises, as described below:
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 Count        Onor        Bank Funds              Recipient          Amount
              About      Obtained From
                                            COCONSPIRATOR 1,
                         People's Bank,
                                              1023 Whitehead
                           109 Leader
      2      1/28/2014                         Street, Unit C,       $7,500
                          Heights Road,
                                             Key West, Florida,
                         York, PA 17403
                                                   33040

          All in violation of Title 18, United States Code, Sections 1344 and

2.


                                 COUNT3
                              18 U.S.C. § 371
          (Conspiracy to Commit Wire Fraud, Mail Fraud, and Money
                                Laundering)

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34.       Paragraphs 1 through 9 and 11 through 31 are incorporated here.

35.       Beginning on or about June 2018 and continuing until on or about

          December 2020, in the Middle District of Pennsylvania, and

          elsewhere, the defendants,

                      EARL MARSHAWN WASHINGTON, and
                              ZSANEIT NAGY

did knowingly conspire, confederate, and agree, with persons both

known and unknown to the Grand Jury, to commit offenses against the

United States and to defraud the United States, th at is:
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To devise a scheme and artifice to defraud and to obtain money and

property by means of false and fraudulent pretenses, representations,

and promises, and to willfully participate in such a scheme and artifice

with knowledge of its fraudulent nature, with the intent to defraud, and

for the purpose of executing such scheme and artifice, to cause to be

transmitted by means of wire, radio, and television communication in

interstate and foreign commerce, any writing, sign, signal, picture and

sound, in violation of Title 18, U.9S.C. § 1343 (Wire Fraud);

To devise a scheme and artifice to defraud and to obtain money and

property by means of false and fraudulent pretenses, representations,

and promises, and to sell, dispose of, loan, exchange, alter, give away,

distribute, supply, and furnish and procure for unlawful use any

counterfeit and spurious article, and to willfully participate in such a

scheme and artifice with knowledge of its fraudulent nature, with the

intent to defraud, and for the purpose of executing such scheme and

artifice to place in any post office and authorized depository for mail

matter any matter and thing whatever to be sent and delivered by the

Postal Service, and to deposit and cause to be deposited any matter and
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thing whatever to be sent and delivered by any private and commercial

interstate carrier, in violation of 18 U.S.C. § 1341 (Mail Fraud);

To knowingly conduct and attempt to conduct a financial transaction

affecting interstate and foreign commerce, which involved the proceeds

of a specified unlawful activity, that is wire fraud and mail fraud, with

the intent to promote the carrying on of specified unlawful activity, that

is wire fraud and mail fraud, and that while conducting and attempting

to conduct such financial transaction knew that the property involved

in the financial transaction represented the proceeds of some form of

unlawful activity in violation of Title 18, United States Code, Section

 1956(a)(l)(A)(i) (Laundering of Monetary Instruments);

To knowingly conduct and attempt to conduct financial transactions

affecting interstate commerce and foreign commerce, which

transactions involved the proceeds of specified unlawful activity, that

is, wire fraud and mail fraud, knowing that the transactions were

designed in whole or in part to conceal and disguise the nature,

location, source, ownership, and control of the proceeds of specified

unlawful activity, and that while conducting and attempting to conduct

such financial transactions, knew that the property involved in the
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financial transactions represented the proceeds of some form of

unlawful activity, in violation of Title 18, United States Code, Section

1956(a)(l)(B)(i) (Laundering of Monetary Instruments); and,

To knowingly engage and attempt to engage, in monetary transactions

by, through and to a financial institution, affecting interstate and

foreign commerce, in criminally derived property of a value greater

than $10,000, that is, cash withdrawals of PayPal transfers from a

Wells Fargo checking account ending in 1896, such property having

been derived from a specified unlawful activity, that is, wire fraud and

mail fraud, in violation of Title 18, United States Code, Section 1957

(Engaging in monetary transactions in property derived from specified

unlawful activity).

Manner and Means of the Conspiracy

It was part of the conspiracy that:

36.   EARL MARSHAWN WASHINGTON began using the email

      account coolcars1962cc@gmail.com on or about May 2016. Around

      the same time, EARL MARSHAWNWASHINGTON moved from

      in or around Key West, Florida to in or around Honolulu, Hawaii,

      along with his then girlfriend, ZSANETT NAGY.
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 37.   EARL MARSHAWN WASHINGTON and ZSANETT NAGY

       continued to relocate regularly, including moving to New Orleans,

       Louisiana on or about May 2018, to Key West, Florida on or about

       2019, to Miami, Florida on or about early 2020, to Las Vegas,

       Nevada on or about late 2020 or early 2021 , and to Honolulu,

       Hawaii on or about November 2022.

 38.   EARL MARSHAWN WASHINGTON continued to use the "River

       Seine" alias to conduct business pseudonymously, including, for

       instance, in connection with the rental of a storage unit in or

       around Las Vegas, Nevada in 2018.

 39.   EARL MARSHAWN WASHINGTON and ZSANETT NAGY sold

       woodblocks and prints of woodblocks to customers in various

       geographic locations via the Internet, including at least one

       customer located in the Middle District of Pennsylvania.

 40.   EARL MARSHAWN WASHINGTON offered for sale woodblocks

       that he advertised as being multiple centuries old when, in reality,

       they were of recent origin, often from the second half of the 20th

       century. Likewise, EARL MARSHAWN WASHINGTON offered

       for sale prints made from woodblocks that were advertised as
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      being from the early 20th century when, in fact, they were also of

      more recent origin.

41.   ZSANETT NAGY used multiple PayPal accounts to sell and accept

      payments for woodblocks and woodblock prints provided by EARL

      MARSHAWN WASHINGTON. Upon receiving payments,

      ZSANETT NAGY regularly withdrew customers' funds from her

      PayPal accounts to bank accounts that she controlled, and then

      made additional cash withdrawals of these customer funds. This

      pattern of financial transactions promoted the carrying on of their

      activity and concealed and disguised the nature, location, source,

      ownership, and control of their proceeds.

 Overt A cts in .Furtherance of the Conspiracy

42.   On or about June 2018, C.L., then a resident of the Middle District

      of Pennsylvania, purchased a print of what was represented to be

      a "rare" woodcut from 1934 made by "E.M. Washington," the

      supposed great·grandfather of EARL MARSHAWN

      WASHINGTON. C.L. made an instant payment via PayPal for

      this print, and it was then shipped via a mail carrier to C.L.'s

      home address in or around Hummelstown, Pennsylvania. The
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      print, titled "Bethlehem Steel," had "1934" written on the matting

      and depicted steelworkers at work. C.L. relied on this date

      representation in deciding to make this purchase.

43.   C.L. purchased this print, through eBay, by sending payment to a

      Pay Pal account with an ID number ending in 7437 that was

      previously associated with COCONSPIRATOR 1. In or around

      May 2018, the same account was used to purchase printing ink,

      which was shipped to EARL MARSHAWN WASHINGTON at an

      address in New Orleans, Louisiana. In or around, June 2018, the

      same account was used to purchase laser copier transparencies,

      mat cutter refill blades, mat boards, a nd clamshell folio storage

      boxes for large documents, all of which were shipped to ZSANE'IT

      NAGY at the same address in New Orleans, Louisiana. All of

      these goods shipped to EARL MARSHAWN WASHINGTON and

      ZSANE'IT NAGY were for use in creating woodblocks and prints.

44.   EARL MARSHAWN WASHINGTON, using email address

      coo1carsl962cc@gmail.com, sent messages to G.P., using a Hotmail

      address, relating to sales of woodblocks that were purportedly

      centuries old. For instance, on November 22, 2019, EARL
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      MARSHAWN WASHINGTON sent an email with seven attached

      JPG files depicting various woodblock images and listing prices in

      dollars. One of the JPG images sent by EARL MARSHAWN

      WASHINGTON contained a written contract between G.P. and

      EARL MARSHAWN WASHINGTON for the sale often "16th

      century" woodblocks, to be paid in two installments via PayPal of

      $2,000 and $5,000.

45.   G.P. and S.P. , and on occasion a relative of G.P. , made payments

      to EARL MARSHAWN WASHINGTON and ZSANETT NAGY by

      sending transfers to a Pay Pal account associated with ZSANETT

      NAGY. For example, on or about November 22, 2019, S.P made an

      instant transfer via Pay Pal of $2,000 to an account associated

      with ZSANETT NAGY's email address, and on or about December

      17, 2019, S.P made an instant transfer via PayPal of $5,000 to the

      same account.

46.   G.P. and S.P. communicated to EARL MARSHAWN

      WASHINGTON that the origin of the woodblocks, as advertised,

      was an important factor in their decision to purchase the artistic

      goods. On or about November 22, 2019, EARL MARSHAWN
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      WASHINGTON wrote to G.P. that he would have "fifteen 15th .C

      Reformation/Lutheran wood blocks (1 gratuity block) next month

      and shipped before the holidays" and also confirmed receiving a

      $2,000 payment through PayPal. G.P. responded that the papers

      provided by EARL MARSHAWN WASHINGTON allowed G.P.'s

      childre n, in accordance with French law, to sell the collection

      following G.P.'s death because the papers would prove the

      woodblocks' origin.

47.   EARL MARSHAWN WASHINGTON and ZSANETT NAGY

      mailed packages of woodblocks to G.P. in France. On or about

      November 22, 2019, a U.S. Postal Service Priority Mail package

      was shipped to F.P. , a relative of G.P., at an address in France,

      with a return address to ZSANETT NAGY in Key West, Florida.

      The package contained approximately eleven individually

      wrapped woodblocks. On or about the same date, EARL

      MARSHAWN WASHINGTON emailed to G.P . a set of pictures,

      including pictures of the package contents, the return and

      recipient addresses on the outside of the box, a customs

      declaration form, and a U.S. Postal Service receipt.
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48.   On or about January 4, 2020, EARL MARSHAWN

      WASHINGTON signed written contracts representing to G.P. "the

      perfect origin of the items" that he sold.

49.   EARL MARSHAWN WASHINGTON and ZSANETT NAGY

      mailed packages of woodblocks to S.P. in France. On or about

      April 6, 2020, EARL MARSHAWN WASHINGTON emailed G.P. a

      picture of himself holding another U.S. Postal Service Priority

      Mail package. This time, the recipient was S.P. at an address in

      France, and the return address was to EARL MARSHAWN

      WASHINGTON, now with an address in Miami, FL. The subject

      of the email was "Wood Blocks Shipping Today."

50.   G.P. and S.P., relying on the representations from EARL

      MARSHAWN WASHINGTON regarding the origins of these

      woodblocks, in turn sold them to another collector residing in

      Germany, who paid an additional premium for the woodblocks.

      G.P. and S.P. both entered into written contracts for the sale of

      these woodblocks to the German buyer.

51.   G.P. communicated to the German buyer that G.P. was sourcing

      woodblocks through "River," from whom the German buyer had
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       previously purchased woodblocks directly. The German buyer

       communicated to G.P. that proof of the origin of the pieces was an

       important factor because the German buyer intended to display

       the pieces in a museum.

 52.   ZSANETI NAGY was associated with multiple PayPal accounts,

       which were used to receive payments for woodblocks sold by her

       and EARL MARSHAWN WASHINGTON and to convert their

       proceeds into cash. In addition to the aforementioned account with

       an ID ending in 7437 that was also associated with

       COCONSPIRATOR 1, ZSANETT NAGY used an account with an

       ID ending in 2464 starting on or about May 2020 and continuing

       until on or about 2022. On or about May 13, 2020, for instance, the

       subject of a transaction was "Payment to Zsanett Nagy for invoice

       0001." ZSANETT NAGY used this account to sell what were

       purported to be numerous "Original E.M. Washington" woodcuts.

53.    From on or about July 2019 until on or about December 2020,

       G.P., S.P., and the relative of G.P. collectively paid EARL

       MARSHAWN WASHINGTON and ZSANETT NAGY, through a

       Pay Pal account with an ID ending in 6850 and again controlled by
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       ZSANETT NAGY, a total amount of approximately $84,350.91.

       When making these payments, the buyers regularly noted that

       these payments were for "printing blocks" or "blocks," including on

       one occasion "11, 19th century printing blocks in wood."

54.    ZSANETT NAGY opened a checking account ending in 1896 at a

       Wells Fargo Bank located in or around Key West, Florida on or

       about November 26, 2019.

 55.   Following the $7,000 payments from G.P. and S.P. in late 2019,

       ZSANETT NAGY attempted on or about December 19, 2019 to

       transfer $7,000 from her Pay Pal account to her Wells Fargo

       checking account. After several more unsuccessful attempts,

       ZSANETT NAGY transferred $500 on or about January 13, 2020

       and $7,500 on or about January 15, 2020. On or about January 16,

       2020, ZSANETT NAGY made a $7,000 withdrawal from the Wells

       Fargo checking account.

 56.   Throughout the remainder of 2020, G.P. and S.P. continued to

       make payments to ZSANETT NAGY via Pay Pal, and ZSANETT

       NAGY continued to transfer those funds to her Wells Fargo
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       checking account and then convert those proceeds into cash

       withdrawals.

57.    On or about February 19, 2020, S.P. transferred $3,900 and G.P.

       transferred $2,800 to the same PayPal account. On or about the

       same day, ZSANETT NAGY transferred approximately $6,500

       from the Pay Pal account to her Wells Fargo checking account. On

       or about February 27, 2020, ZSANETT NAGY withdrew $6,000 in

       cash from the Wells Fargo checking account.

 58.   On or about August 26, 2020, S.P. transferred $2,500 to the same

       PayPal account, and on or about August 27, 2020, S.P. transferred

       another $3,5000 to the same PayPal account. On or about August

       28, 2020, ZSANETT NAGY transferred approximately $6,000

       from the PayPal account to her Wells Fargo checking account. On

       or about the same day, ZSANETT NAGY withdrew approximately

       $5,625 in cash from the Wells Fargo checking account.

59.    On or about October 13, 2021 , EARL MARSHAWN

       WASHINGTON admitted to G.P. that the woodblocks G.P. and

       S.P. purchased from EARL MARSHAWN WASHINGTON and

       ZSANETT NAGY were not authentic but, instead, were "hand
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      engraved" by EARL MARSHAWN VvASHINGTON himself. EARL

      MARSHAWN WASHINGTON promised to begin se nding G.P. and

      S.P. repayments for the fraudulently sold woodblocks, as well as

      additional woodblocks that he had carved to mimic historical

      artifacts, in an effort to dissuade G .P. and S.P. from taking legal

      action.

      All in violation of Title 18, United States Code, Section 371.



                                 COUNT4
                              18 U.S.C. § 1343
                               (Wire Fraud)

60.   Paragraphs 1 through 9, 11 through 31, and 36 to 59 are

      incorporated here.

61.   On or about the date set forth below, in the Middle District of

      Pennsylvania and elsewhere, the defendants,

                  EARL MARSHAWN WASHINGTON, and
                          ZSANE'IT NAGY

      knowingly devised a scheme and artifice to defraud and to obtain

      money and property by means of false and fraudulent pretenses,

      representations, and promises, and willfully participated in such

      scheme and artifice with knowledge of its fraudulent nature, with
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          the intent to defraud, and for the purpose of executing such

          scheme and artifice caused to be transmitted by means of wire,

          radio, and television communication in interstate and foreign

          commerce, any writing, sign, signal, picture and sound, as

          described below:

 Count        Onor       Wire Sent From       Wire Sent To         Wire
              About                                             Description
                         C.L. , located in
                                                                 Instant
                           or around         PayPal Account
      4      6/17/2018                                          Payment of
                         Hurn me ls town,    Ending in 7437
                                                                  $79.99
                                 PA

          All in violation of Title 18, United States Code, Sections 1343 and

2.




THE GRAND JURY FINDS PROBABLE CAUSE:

                         FORFEITURE ALLEGATION

62.       The allegations contained in Counts 1 through 2 of this

          Indictment are hereby re-alleged and incorporated by reference

          for the purpose of alleging forfeitures pursuant to Title 18, United

          States Code, Section 982(a)(2) - (4).
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63.    Upon conviction of an offense set forth in Counts 1 through 2 of

       this Indictment, the defendant,

                      EARL MARSHAWNWASHINGTON,

       shall forfeit to the United States pursuant to Title 18, United

       States Code, Section 982(a), any property real or personal that

       constitu tes, is derived from , or is traceable to the proceeds

       obtained directly or indirectly from the commission of the offe nse

       of which the person is convicted. The property to be forfeited

       includes, but is not limited to, the following:

               a.    Approximately $118,810, representing the total

                     gross proceeds of the sales to D.A. ;

64.    If any of the property described above, as a result of any act or

       omission of the Defenda nt:

               a.    cannot be located upon the exercise of due diligence;

               b.    has been transferred or sold to, or deposited with, a

                     third party;

               c.    has been placed beyond the jurisdiction of the court;

               d.    has been substa ntially diminished in value; or
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               e.    has been commingled with other property which

                     cannot be divided without difficulty,

        the United States of America shall be entitled to forfeiture of

        substitute property pursuant to Title 21, United States Code,

        Section 853(p), as incorporated by Title 28, United States Code,

        Section 2461 (c).

        All pursuant to 18 U.S.C. § 982(a)(2) - (4).

 65.   Furthermore, the allegations contained in Counts 3 through 4 of

       this Indictment are hereby re-alleged and incorporated by

       reference for the purpose of alleging forfeitures pursuant to Title

       18, United States Code, Section 982(a)(l) - (4).

66.    Upon conviction of an offense set forth in Counts 3 through 4 of

       this Indictment, the defendants,

                    EARL MARSHAWNWASHINGTON, and
                            ZSANE'CT NAGY

       shall forfeit to the United States pursuant to Title 18, United

       States Code, Section 982(a), any property real or personal that

       constitutes, is derived from, or is traceable to the proceeds

       obtained directly or indirectly from the commission of the offense
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       of which the person is convicted. The property to be forfeited

       includes, but is not limited to, the following:

               a.    Approximately $84,430.90, representing the total

                     gross proceeds of the sales to C.L., G.P., and S.P.;

67.    If any of the property described above, as a result of any act or

       omission of the Defendant:

               a.    cannot be located upon the exercise of due diligence;

               b.    has been transferred or sold to, or deposited with, a

                     third party;

               c.    has been placed beyond the jurisdiction of the court;

               d.    has been substantially diminished in value; or

               e.    has been commingled with other property which

                     cannot be divided without difficulty,

        the United States of America shall be entitled to forfeiture of

        substitute property pursuant to Title 21, United States Code,

        Section 853(p), as incorporated by Title 28, United States Code,

        Section 2461(c).
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        All pursuant to 18 U.S.C. § 982(a)(l) - (4).



                                         A TRUE BILL



GERARD M. KARAM
United States Attorney                    FOREPERSON



RAVI ROMEL SHARMA                         Date
Assistant United States Attorney
